Big fish in BP claims raGOckhrt OnmedH2179-CJB-DPC Document 5455-3 Filed 01/26/12 Page lof2 125/12 8:21 aM

Everything New Orleans

Big fish in BP claims reel in suckers: James Gill

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James Gill
By

The class action lawsult is 4 great jeveler. It ensures that every American, rich or poor, can do his bit to help trial

lawyers make money. Fair enough, say the lawyers. Plaintiffs, who could not afford to pursue their claims
individually, get expert representation with no payment up-front. If the class eventually prevails, and the lawyers'

cut runs into the millions, justice has been served all round.

The BP oll spill case is technically not a class action, for reasons too tedious to rehearse, but it resembles one in

every important particular. Armies of attorneys are advancing consolidated claims, signing up plaintiffs and counting

on a hefty cut from the loot which BP and the other defendants have out the wazoo.

When a major disaster occurs, and hordes of lawyers descend on the courthouse, they will fight teoth and nail for a
seat on the steering committee a federal judge appoints to hand out the spoils. Competition was fierce after the
spill, when more than 100 lawyers vied for the nod from Cart Barbier, who is presiding over the case in New Orleans.

David Grunfeld / The Times-Picayune

A boat works to contain oil after the Deepwater Horizon rig sank in
’ April 2010,

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Perhaps the scramble bespoke a touching
sympathy for the victims, but Vanderbilt University
law professor Brian Fitzpatrick, an expert on
attorney fees, had another explanation: “You not
only contre! the case but you get a big percentage
off the top. This wilf attract all the big fish.”

Barbler duly recrutted 15 distinguished counselors
to the steering committee in 2010.

Their concern for the victims became apparent a
year ago, when they took out newspaper ads
advising that a deadline was approaching for
claims against one of BP's many co-defendants, rig

owner Transocean. All those who hadn't done so

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should preserve their rights by joining the lawsuit immediately.

That included those in line for compensation from Ken Feinberg, head of the Gulf Coast Claims Facility, which has
$20 billion of BP’s money to distribute outside the court system. Keep your options open; you have nothing to lose

by filling in this form and joining our litigation, the trial lawyers declared.

As Feinberg’s clients now discover, they had quite a lot to lose, All they were preserving was their right to help make
the trial lawyers rich. This is a deal that takes the old class-action racket to new levels. These suckers will have to

pay for legal representation they do not need and could not benefit from.

When they recelve compensation from Feinberg, they are required to waive any right to sue for damages. Yet they

will still have to pay the plaintiffs’ steering committee and pals.

Barbier provoked howls of outrage last month when granting a request fram the steering committee te razoa a
portion of all settlements, even frorn the Gulf Coast Claims Facility, to pay off the trial lawyers. Barbier relented,
twice watering his order down, and it no longer applies to Gulf Coast Claims Facility claimants - unless they are also
party to the litigation. Anyone who fell for the steering committee's siren song remains on the hook and 6 percent
will be withheld,

That this was the committee's intention was obvious from the start when Barbier was asked to approve the
newspaper ads. Independent attorneys denounced them as a trick to extract fees and expenses from spill victims

who would otherwise receive every satisfaction from Feinberg.

Jim Roy and Steve Herman, joint heads of the Plaintiffs’ Steering Committee, suggested at the time that it made
sense for victims to keep their options open by joining the suit until their claims with Feinberg had been resoived,
but it is now clear that there is no escape from the case. If Feinberg pays up, and no claim is alive in court, the trial

lawyers still rake it in.

It is perhaps a little fate to worry about the reputation of trial lawyers, but the ones who are most mistrusted are

those who advertise for clients.

The big fish no doubt view the Morris Barts with disdain, but this case must make you wonder whether they have

any grounds to be snooty after all,

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